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   Our Commitment to Liberty University:
   Our overall marketing experience and ability to maintain positive, efficient long-
   term relationships has led us to this table. We'd like to be a stronger partner with,
   and for, Liberty University!

   Our core agency expertise is media, and we are currently underutilized in that area
   for Liberty University. We can do more. By working with LU to create efficiencies
   across all departments and all media platforms, we can streamline the LU brand
   message, while casting a larger geographic net of recognition. We can expand that
   reach while limiting overlap and providing a cost savings to LU.

   Our workflow processes and the experience of our media team can help LU behind
   the scenes with the volume of paperwork, or on the front lines finding media
   opportunities, dealing with reps and negotiating contracts. In addition, our strategic
   thinking and creative mindset can play watchdog on the LU brand as it is executed
   across multiple platforms in an ever-expanding geographic footprint.

   Our Process:
        •   Discussions with decision makers to establish goals and objectives (on-going)
        •   Media meetings and market trips to identify partners and outline annual objectives
            (annually and as needed throughout the year}
        ■   Media research using Scarborough and TAPSCAN data, Nielsen ratings and rankers for all
            traditional media outlets, and Nielsen NetRatings for online research (year-round)
        •   Media planning where we identify "must have" partners, create efficiencies, confirm
            added value and negotiate rates (annually or as needed)
        ■   Media placement of approved plans within approved budgets. Worth noting here: MPI
            is compensated by a media commission from broadcast media, not the client. Your
            budget is your total spend — no hidden fees.
        •   Contract confirmations required for all approved placements. MPI collects all and
            confirms prior to air.
        •   Trafficking of all creative materials to media outlets.
        ■   Monthly media reconciliations —checking all vendor invoices for accuracy and approve
            for processing.
        ■   Media payments within 45 days of billing.
        ■   Budget maintenance and flowchart upkeep for annual projections (at-a-glance
            references),




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   Pricing Proposal:
   MPI operates with a 15%media commission from the media. A reduced media
   commission of 3.5%will be applied to all gross media spending in excess of a million
   dollars in annual University spending.

   Following an outline structure for providing marketing services through one central
   agency, the following pricing schedule has been accepted to support all Liberty
   University media efforts:
        1. less than $1,000,000   =   15%
        2. Over $1,000,000        =   3.5%

   These percentages apply to all media commissions for the 2016-2017 year
   beginning September 1, 2016 and continuing through December 2017.


   Service Pricing Proposal:
   In addition to the above pricing model, MPI will charge a reasonable monthly
   retainer for account service that provides for all expected meetings with Vice
   Presidents of each division, the client requestors, and any LU marketing department
   personnel necessary for performing the requested marketing services at both
   Liberty University and MPI standards of excellence.

   With this is mind, we have arrived at a set monthly retainer of $1,000 per
   month to cover meetings and account service for any individual departments
   with annual budgets under $300K,


   Creative Pricing Proposal:
   A partnership relationship has been established between Media Partners, Inc. (MPI)
   and Liberty University's marketing department that allows for MPI's strategic
   development of messaging and brand components for a new look and feel.
   Together, a timeline has been established for creative deliverables to support the
   approved FY2016/2017 external plans for School of Law. The marketing flowchart
   has a line item for estimated creative expenses based on need. The final figure is
   dependent upon the actual creative components that MPI provides and this line item
   on the flowchart will be updated as projects are completed. The "do not exceed"
   creative budget number is $35,716.82.


   The attached marketing flowchart for FY2016/2017 that has been submitted with a
   "do not exceed" budget of $192,885.06 and encompasses all above pricing models.



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   This agreement is subject to and incorporates by reference the provisions of
   the Master Purchasing Agreement (the "Agreement") dated March 20, 2015.

   With signatures below, we shall begin a working partnership under these stated
   terms for account service, creative development and media planning and placement
   for the Liberty University School of Law.



   Nav~.c~ T? gov~,o
   Nancy Bono                                              < < Zg~r ~
   Partner                                        Liberty Uni~ rsi y
   Media Partners, Inc.                           Date: 10/11/16
                                                  Revised: 10/21/16
                                                  Revised: 11/28/16




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